                                     UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF TENNESSEE

             In re: LEGACY INTERACTIVE, INC.                                                §       Case No. 3:17-07878-CMW
                                                                                            §
                                                                                            §
        Debtor(s)                                                                           §

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                          $         883,298.48

                    and approved disbursements of                                               $         883,159.72
                                                           1
                    leaving a balance on hand of                                                $               138.76

                                                         Balance on hand:                                   $                138.76
               Claims of secured creditors will be paid as follows:

Claim          Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
No.                                                         Asserted       of Claim          to Date                        Payment
                                                                None
                                                         Total to be paid to secured creditors:             $                  0.00
                                                         Remaining balance:                                 $                138.76

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                         Total Requested Interim Payments                  Proposed
                                                                                                   to Date                 Payment
Trustee, Fees - SUSAN R. LIMOR, TRUSTEE                                          46,903.66             46,903.66                 0.00
Trustee, Expenses - SUSAN R. LIMOR, TRUSTEE                                          205.63                205.63                0.00
                                Total to be paid for chapter 7 administration expenses:                     $                  0.00
                                Remaining balance:                                                          $                138.76




                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:     $               0.00
                             Remaining balance:                                              $             138.76

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $12,306.81 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
 02            Dallas County                                             136.35             136.35                0.00
 03            Metropolitan Government of Nashville &                  2,889.39            2,889.39               0.00
               Davidson County Tenne
 10P           Tennessee Department of Revenue                         4,924.98            4,924.98               0.00
 25P           Franchise Tax Board                                     1,585.97            1,585.97               0.00
 26P           Texas Controller of Public Accounts                     2,687.86            2,687.86               0.00
 27P           New York State Department of Taxation &                    82.26              82.26                0.00
               Finance
                                                 Total to be paid for priority claims:       $               0.00
                                                 Remaining balance:                          $             138.76
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 68,689.50 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
 01 -2         Department of the Treasury - Internal                     100.00             100.00                0.00
               Revenue Service
 05            VACO NASHVILLE                                         51,777.50          51,777.50                0.00
 06            GCA ADVISORS LLC                                       16,812.00          16,812.00                0.00




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                            Total to be paid for timely general unsecured claims:         $                0.00
                            Remaining balance:                                            $              138.76


            Tardily filed claims of general (unsecured) creditors totaling $ 3,205,220.71 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 21.7 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 07            CT CORPORATION                                         6,473.76          1,404.58              0.29
 08U           L. Keith Mullins                                     89,518.00         19,422.31               3.88
 10U           Tennessee Department of Revenue                           116.31           116.31              0.00
 11            RADIUS GGE USA INC                                   32,229.50           6,992.69              1.39
 12 -2         VANTAGE POINT VENTURE PARTNERS                    1,954,114.00        423,975.16              84.59
               2006 (Q), L.P.
 14U           JIM D. KEVER                                        673,814.00        146,194.33              29.17
 15U           FRED C. GOAD                                        445,048.00         96,560.02              19.27
 16U           JAMES P. AYLWARD                                       3,358.00            728.57              0.15
 21            VantagePoint Venture Partners 2006(Q), LP                   0.00               0.00            0.00
 24            VANTAGEPOINT VENTURE PARTNERS                               0.00               0.00            0.00
               2006 (Q), L.P.
 25U           Franchise Tax Board                                       184.11            39.95              0.00
 26U           Texas Controller of Public Accounts                       283.98            61.61              0.02
 27U           New York State Department of Taxation &                    81.05            17.59              0.00
               Finance
                            Total to be paid for tardy general unsecured claims:          $              138.76
                            Remaining balance:                                            $                0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/SUSAN R. LIMOR, TRUSTEE
                                                                                 Trustee

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             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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